        Case:20-12689-JGR Doc#:103 Filed:06/21/20                              Entered:06/21/20 22:20:35 Page1 of 4
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 20-12689-JGR
UC Colorado Corporation                                                                                    Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: admin                        Page 1 of 2                          Date Rcvd: Jun 19, 2020
                                      Form ID: pdf904                    Total Noticed: 22


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 21, 2020.
db             +UC Colorado Corporation,    301 Commercial Road, Unit D,     Golden, CO 80401-5646
18766032       +Aerotek, Inc,   3689 Collection CTR. Dr,     Chicago, IL 60693-0036
18766037       +Ambria Investors LP,    1311 Avenue Ponce de Leon, Suite 304,     San Juan, PR 00907-4003
18766044       +Automated Extractions,    19 Donovan Dr,    Hopewell Junction, NY 12533-6575
18766046        Bernard Brothers Farms Inc.,     15005 SE Kreder Rd,   Dayton, OR 97114
18766050       +Blake Street Partners, LLC,     1942 Broadway Street, Suite 314C,    Boulder, CO 80302-5233
18766079       +CoWest Insurance Group,    4348 Woodlands Blvd,    Suite 229,    Castle Rock, CO 80104-2815
18766070       +Coley Farms,   3312 Akersville Road,     Lafayette, TN 37083-4357
18766084    ++++DELVIN FARMS,   2023 DR ROBERTSON RD,     SPRING HILL TN 37174-1533
               (address filed with court: Delvin Farms,      2023 Doctor Robertson Rd,    Spring Hill, TN 37174)
18766090       +ECG SPV Acreage, LLC,    1962 Blake Street, Suite 200,    Denver, CO 80202-1298
18766113       +Hippo Hollow Farms LLC,    803 Mahon Rd,    Columbia, TN 38401-8807
18779044       +Independent Bank,    1300 Walnut Street,    Boulder, CO 80302-5276
18766127       +Kyle Owens Farms,    342 Lock Seven Lane,    Carthage, TN 37030-2906
18766129       +L&M Properties and Holdings, LLC,     5807 West 20th Street,    Greeley, CO 80634-2913
18766132       +Lindsey Williams,    500 CR 64,    Riceville, TN 37370-5423
18766144       +Miner’s Delight, LLC,    5925 East Princeton Circle,    Englewood, CO 80111-1038
18766153       +Paradox Ventures, Inc,    501 Main Street,    Montrose, CO 81401-3931
18766159        Progressive,   PO Box 0561,     Carol Stream, IL 60132-0561
18766193       +Vallor Equipment LLC,    1605 Se 27th Ave,    Portland, OR 97214-4912
18766200       +Willamette Valley Hemp and Seed Co LLC,     23755 NE Dillon Rd,    Newberg, OR 97132-7317

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
18766065       +E-mail/Text: sancheza@cintas.com Jun 20 2020 01:33:06     Cintas,   PO Box 88005,
                 Chicago, IL 60680-1005
18766101       +E-mail/Text: billing@generalair.com Jun 20 2020 01:32:45     General Air,   1105 Zuni St,
                 Denver, CO 80204-3399
                                                                                            TOTAL: 2

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++++’ were corrected as required by the USPS Locatable Address Conversion System (LACS).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 21, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 19, 2020 at the address(es) listed below:
              Aaron J. Conrardy    on behalf of Debtor    UC Colorado Corporation aconrardy@wgwc-law.com,
               3377058420@filings.docketbird.com;agarcia@wgwc-law.com
              Adam L. Hirsch    on behalf of Creditor    Miner’s Delight, LLC adam.hirsch@kutakrock.com,
               kandis.welch@kutakrock.com
              Alan Sweetbaum     on behalf of Creditor    Sixth Avenue Place LLC asweetbaum@sweetbaumsands.com
              Alan K. Motes    on behalf of U.S. Trustee    US Trustee Alan.Motes@usdoj.gov
              Case Collard     on behalf of Creditor    Bernards Bros. Farms, Inc. collard.case@dorsey.com,
               duff.cheryl@dorsey.com
              Deanna L. Westfall    on behalf of Creditor    Colorado Department Of Revenue
               deanna.westfall@coag.gov, bncmail@w-legal.com
              Duncan E. Barber    on behalf of Creditor    L7 TWS Pharma, LLC dbarber@sbbolaw.com,
               ahenderson@sbbolaw.com;rbohl@sbbolaw.com
              Duncan E. Barber    on behalf of Creditor    DCS Enterprises of Green Bay, Inc. dbarber@sbbolaw.com,
               ahenderson@sbbolaw.com;rbohl@sbbolaw.com
              Jeffrey S. Brinen    on behalf of Creditor    Blake Street Partners, LLC jsb@kutnerlaw.com,
               vlm@kutnerlaw.com
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                              Form ID: pdf904              Total Noticed: 22


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              John F. Young    on behalf of Creditor    Independent Bank jyoung@markuswilliams.com,
               docket@markuswilliams.com;sschaefer@markuswilliams.com
              John Jeffrey Wiest    on behalf of Creditor    Bernards Bros. Farms, Inc. wiestj@gtlaw.com,
               long.candy@dorsey.com
              John M Bowlin    on behalf of Creditor    Ambria Investors, LP john@bowsch.com
              Julie Trent     on behalf of Creditor    DCS Enterprises of Green Bay, Inc. jtrent@bsblawyers.com,
               maryannelenzi@bsblawyers.com;RJohnson@bsblawyers.com
              Julie Trent     on behalf of Creditor    L7 TWS Pharma, LLC jtrent@bsblawyers.com,
               maryannelenzi@bsblawyers.com;RJohnson@bsblawyers.com
              Kevin S. Neiman    on behalf of Creditor    CS2 Real Estate Holdings, LLC kevin@ksnpc.com
              Lance J. Goff    on behalf of Creditor    Phenyx Media, LLC lance@goff-law.com, bart@goff-law.com
              Lindsay Riley     on behalf of Debtor    UC Colorado Corporation lriley@wgwc-law.com,
               dtackett@wgwc-law.com
              Mark C. Willis    on behalf of Creditor    Miner’s Delight, LLC mark.willis@kutakrock.com
              Megan K. Baker    on behalf of Creditor    Bernards Bros. Farms, Inc. baker.megan@dorsey.com
              Ryan Isenberg     on behalf of Creditor    Coley Farms ryan@isenberg-hewitt.com
              Ryan Isenberg     on behalf of Creditor    Eller Farms ryan@isenberg-hewitt.com
              Ryan Isenberg     on behalf of Creditor    Kyle Owen Farms ryan@isenberg-hewitt.com
              Thomas Snyder     on behalf of Creditor    Miner’s Delight, LLC thomas.snyder@kutakrock.com,
               becky.franson@kutakrock.com
              US Trustee    USTPRegion19.DV.ECF@usdoj.gov
              William Cross     on behalf of Creditor    Independent Bank wcross@markuswilliams.com,
               sschaefer@markuswilliams.com;Docket@markuswilliams.com
                                                                                              TOTAL: 25
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